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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


  PENNSYLVANIA GENERAL ENERGY
  COMPANY, LLC,
                 Plaintiff

            v.                             CIVIL ACTION NO. 14-209 ERIE

  GRANT TOWNSHIP,
                    Defendant



                             STATUS CONFERENCE




                     Proceedings held before the HONORABLE

                     SUSAN PARADISE BAXTER, U.S. Magistrate Judge,

                     in Judge's Chambers, U.S. Courthouse, Erie,

                     Pennsylvania~   on Thursday, March 1, 2018.




                    Ronald J. Bench - Official Court Reporter
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 1     APPEARANCES:

 2                      KEVIN J. GARBER, Esquire, (via Phone),
                        appearing on behalf of 'the Plaintiff~
 3                      Pennsylvania General Energy Company.

 4                      JAMES V. CORBELLI, Esquire, (via Phone) ,
                        appearing on behalf of the Plaintiff,
 5                      Pennsylvania General Energy Company.

 6                      LISA C. McMANUS, Esquire, (via Phone);
                        appearing on behalf of the Plaintiff,
 7                      Pennsylvania General Energy Company.

 8                      KEVIN J. MOODY, Esquire, (via Phone),
                        appearing on behalf of the Intervenor
 9                      Plaintiff, Pennsylvania Independent Oil
                        and Gas Association.
10
                        ELIZABETH M. DUNNE, Esquire, (via Phone),
11                      appearing on behalf of the Defendant,
                        Grant Township.
12
                        THOMAS A. LINZEY, Esquire, (via Phone),
13                      appearing on behalf of the Defendant,
                        Grant Township.
14
                        KAREN HOFFMANN, Esquire, (via Phone),
15                      appearing on behalf of the Defendant,
                        Grant Township.
16
                        BETHANN R. LLOYD, Esquire, (via Phone),
17                      appearing on behalf of Movants Elizabeth Dunne
                        and Thomas Linzey.
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  3                  (Whereupon, the proceedings began at 11:00 a.m.,
  4     on Thursday, March 1, 2018, in Judge's Chambers.)

  5

  6                  LAW CLERK:    Good morning, this is Cynthia Sander in
  7     Judge Baxter's chambers.
  8                  MR. CORBELLI:     Good morning, Cynthia.
  9                  LAW CLERK:    Who do we have on the line?

10                   MR. CORBELLI:     This is Jim Corbelli and Kevin Garber
11      is with me as well.       I can name everybody, Cynthia, if. that's
12      the easiest.
'13                  LAW CLERK:    Sure.

14                   MR.   CORBEL~I:   Thomas Linzey, Bethann Lloyd,
15      Elizabeth Dunne, Lisa McManus and Kevin Moody, that's it.
16                   LAW CLERK:    Let me run through the names real quick.
17      Corbelli, Garber, Lloyd, Dunne, Linzey, McManus, Moody and
18      Hoffmann, is that .right?

19                   MR. CORBELLI:     That's right, Cynthia.
20                   LAW CLERK:    Thank you.
21                   MR. CORBELLI:     Someone else just joined in, who
22      joined the call?
23                   MS. HOFFMANN:     This is Karen Hoffmann.

24                   LAW CLERK:    Okay.   So, again, I'm just going to run

25      through these names real quick so we make sure the court
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  1     reporter has got everybody.        Corbelli, Garber, Linzey, Lloyd,
  2     Dunne, McManus, Moody and Hoffmann, is that right?
 3                    MR. CORBELLI:     That's correct, Cynthia.
 4                    LAW CLERK:     Thank you.   I'll get the judge and then
  5     we'll get started.
  6                   THE COURT:     Good morning, everyone.
  7                  ALL COUNSEL:      Good morning, your Honor.
  8                   THE COURT:     This is Civil Action 14-209 Erie,
 9      Pennsylvania General Energy Company, LLC, versus Grant
-10     Township.     In my chambers I.have the court reporter and my
11      staff attorney, Cynthia Sander, Esquire.           On the line we·have
12      attorneys Corbelli, Garber, Linzey, Lloyd, Dunne, McManus,
13      Moody and Hoffmann; is that correct?
14                   MR. CORBELLI:      Yes, your Honor.
15                   THE COURT:     All right.    I called this because of,
16      obviously, the joint motion and attached order, .which does many
17      things.     It stays some things, it puts things in final order,
18      it vacates a trial.        For the most part' I was very happy with
19      the collaboration that produced it.         But I cannot sign the
20      order as is, and so. I thought we would go through some of it
21      and talk it over.     .And go through my problems with it and see
22      if we can't get them resolved, all right.
23                   MR. CORBELLI:     Very good.
24                   THE COURT:      First of all, since I'm going in order,
25      I'm looking at the order, the proposed order and I'll go in.
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 1     order.    I was wondering rather than have the either/or in

 2     paragraph 1, may I just ask PGE, are you planning on filing a
 3     motion for attorney's fees?

 4                  MR. CORBELLI:    Yes, we are, your Honor.

 5                  THE COURT:    Okay, we will change that to reflect

 6     that.    Let's go to paragraph No. 6.      This is my problem with

 7     No. 6.   And I guess I'm speaking to PIOGA at this point,
 8     so I guess Mr. Moody --

 9                  MR. MOODY:    Yes, your Honor.

10                  THE COURT:    You're up.    I will not sign an order

11     with those two counts remaining.        I will, however, if you don't
                                                                         I
12     withdraw those two counts o,r withdraw your motion for summary
13     judgment and, therefore, I would ask Grant Township to withdraw
14     the cross-motion.     I will allow briefing on how those two

15     counts, and any injunctive or declaratory relief as a case or

16     controversy.    I do not believe I have jurisdiction to decide

17     those two counts, I    belie~e   that they're moot.     Okay.    We can
18     talk about it now, you can argue about it some now.             You may
19     wish to talk to your client.       I don't know how you want to do

20     it, but I do not believe there's a case or controversy.

21     I believe I've decided the petition clause.         That which you
22     complain of has already been replaced and held to be
23     unconstitutional.     There's no injunctive relief to be had

24     you see my problem?

25                  MR. MOODY:    Yes, your Honor.
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 1                  THE COURT:    It's asking for an advisory opinion that

 2     I don't have jurisdiction to make.            That's my view   ~nit;   I'm

 3     willing to listen to your arguments, but that's my view.

 4     Go ahead.

 5                  MR. MOODY:    Well, I'm not prepared to argue that

 6     now, I would reserve -- make legal arguments in a filing.

 7                  THE COURT:    All right.        And you also would have to
                                                              \
 8     talk to your client to see if they wish to go down that road.
 9     All right.

10                  MR. MOODY:    Yes.

11                  THE COURT:    ~ow,       let's talk about the cross-motion.

12     Would that be you. Mr. Linzey?

13                  MR. LINZEY:    That will be Ms. Dunne this morning.

14                  THE COURT:    So, Ms. Dunne, I guess my point would

15     be, you'd have to do the same thing and you'd have to determine

16     whether the cross-motions, if I successfully talk Mr. Moody and

17     his client into withdrawing those and joining them in paragraph

18     7, whether or not you would be willing to talk to your client

19     about continuing on with the cross-motion?

20                  MS. DUNNE:    Yes, your Honor, we would be

21                  THE COURT:    Because the cross-motion is somewhat

22     defensive in nature, as I recall?

23                  MS. DUNNE:    That's correct, yes.        So that would be
24     fine with us.
                                         I

25                  THE COURT:    All right.       I also have to say that I
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 1     read it, Mr. Moody, I want you to keep this in mind.

 2     The decision on permissive joinder was very close with you

 3     guys.   And it was permissive joinder, it wasn't joinder as a

 4     right, is my recollection.        So I also looked upon it as           what

 5     were the things that were separate that made the difference

 6     that allowed you to intervene.       And are those reflected,- beyond

 7     my having jurisdiction to decide it, are those reflected in the

 8     two counts that you wish to continue on.         All right.     So think

 9     about that as· well.      So it's not only the jurisdictional thing,
                                                                        I

10     if we get passed that, do I revoke permissive joinder, okay.

11                  MR. MOODY:    Yes.

12                  THE COURT:    And my powers to do that as well.

13                  Before I get to the last item on my agenda, well,

14     let me just say I think we need to set up another call where I

15     can get an answer as to what you're going to do.          Or I could

16     say to Mr. Moody and Ms. Dunne, until next Friday I'll give

17     you, whatever that is, eight days.        I'll give you until next

18     Friday to determine how you're.going to proceed on those,

19     whether or not you're going to file briefing that addresses my

20     concerns or whether you're going to withdraw those

21     cross-motions, okay.

22                  MR. MOODY:    Yes, your Honor.

23                  THE COURT:    You can do it by notice.      So let.'s do it

24     that way rather than making Ms. Dunne wake up early.            Okay.

25                  Now, those are my only problems with the order, I'm
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 1     very happy with all that you've decided.

 2                   Now, I'm going to an uncomfortable but necessary

 3     discussion.       It's an unfortunate thing because I actually do

 4     believe very much in a right to petition and the right to

 5     complain.     And I don't stand above that at all.
                     /



 6                   But, unfortunately, the U.S. Marshals have gotten

 7     involved because it is their charge to protect me and there.

 8     have been some threats made by slow mail, some by voice

 9     messages left on my phone.      And even though it's his right to

10     request it and he will receive my financial disclosures forms

11     for the years requested, t.hat would be Mr. Orzetti from CACHE,

12     the request also prompted a U.S. Marshal intervention, to make

13     sure there was nothing security wise that would go out when

14     those are released.      Because of my sanctions decision, all of

15     these things ensued.      The Facebook and Twitter posts on CELDF
                                                                       1




16     or re-tweets by CELDF have included, oh I don't know,

17     borderline threatening comments, the stuff that         ~riggers    the

18     U.S. Marshal review.      At the very least has charged that I am

19     bought by corporate America, probably the gas and oil industry

20     in particular, maybe PGE in particular:

21                   That puts me in a position, that in particular, puts
22     me in a position of being concerned that I should continue on

23     the case.     And also prompts me to ask whether or not I'm going

24     to be brought to the Third Circuit Judicial Misconduct Board on

25     those charges.
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 1                  I can tell you that the financial disclosure forms

 2     will in fact show that for two years prior to this case being

 3     filed, my financial planner had some investment in Houston Gas

 4     and Oil.    But when I took this case, I divested, at a great

 5     loss, those holdings.      And now only in mutual funds so as not

 6     to have that problem again.       So if that is going to be what you

 7     do, you have every right to do that, if that's what you

 8     believe, I will have to recuse.

 9                  Now, because you have all consented to a magistrate

10     judge's jurisdiction, if I recuse and I choose to do that, or

11     if such a petition is brought to the Misconduct Board, I will

12     have to recuse, it will go to a magistrate judge either in

13     Johnstown or in Pittsburgh because of the consent.              So I want

14     you all to discuss those things.       And when we're off the phone

15     today and let me know, I would just say by phone call to

16     chambers, whether or not you are going to seek my recusal or if
17     you are going to take me to the Judicial Misconduct Board for

18     being I guess bought and paid for by corporate America, then I
19     will recuse.     And I just wanted you to know that it will go to

20     a magistrate judge in this district, that's how it works.

21                  So that's all on the record, I didn't go off the
22     record.    Whether or not I feel threatened, the U.S. Marshal
23     things trigger their intervention and I just thought I would

24     tell you that.    All right.    If there's nothing else from any

25     other party -- anything from PGE?
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 1                    MR. CORBELLI:   No, your Honor.

 2                    THE COURT:   Anything from defendants?

 3                    MR. MOODY:   No, your Honor.

 4                    MS. DUNNE:   No, your Honor.

 5                    THE COURT:   We're adjourned, thank you all.

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 7                    (Whereupon, at 11:15 a.m., the proceedings were

 8     concluded. )

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 5            I, Ronald J. Bench, certify that the foregoing is a

 6     correct transcript from the record of proceedings in the

 7     above-entitled matter.

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14     Ronald J. Bench

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